                 Case 3:21-cr-00202-PAD Document 2 Filed 06/08/21 Page 1 of 9


                             UNITED STATES DISTRICT COURT FOR THE
                                   DISTRICT OF PUERTO RICO



UNITED STATES OF AMERICA,                                INFORMATION

v.                                                      .CRIMINAL NO. 21-202-01( FAB )

JULIA BEATRICE KELEHER,                                   VIOLATIONS:             RECEIVED AND FILED
Defendant.                                                18 U.S.C. § 371         JUNE 8, 2021 AT 10:00 a.m.
                                                                                  OFM
                                                         TWO COUNTS

     THE UNITED STATES ATTORNEY CHARGES:

                                       GENERAL ALLEGATIONS

     At all times material to this Information:

             1. The Commonwealth of Puerto Rico was a self-governing territory of the United

     States of America.

             2. The Puerto Rico Department of Education (hereafter, the “PRDE”) was organized

     under Article IV, Section 6 of the Constitution of the Commonwealth of Puerto Rico. The PRDE

     was responsible for the planning and administration of all public elementary, secondary, and some

     post-secondary education throughout Puerto Rico. The PRDE is considered a State educational

     agency and local educational agency for purposes of administering federal financial assistance

     programs.

             3. JULIA BEATRICE KELEHER was the Secretary of Education from in or about

     January 2017 until on or about April 1, 2019. As the Secretary of Education, JULIA BEATRICE

     KELEHER was responsible for the management and oversight of the PRDE. By virtue of her

     position, JULIA BEATRICE KELEHER was required to make decisions in the best interest of the

     people residing in the Commonwealth of Puerto Rico without regard to her own personal gain, or

     that of her friends.
                                                    1
          Case 3:21-cr-00202-PAD Document 2 Filed 06/08/21 Page 2 of 9




       4. The PRDE received federal benefits through various financial assistance programs

funded by the United States Department of Education (hereafter, the “USDE”). The value of the

federal benefits the PRDE received from the USDE exceeded $10,000 during the twelve months

preceding December 31, 2018, and during the twelve months following December 31, 2018.

       5. Colón & Ponce, Inc. (“Colón & Ponce”), was a corporation organized under the laws

of the Commonwealth of Puerto Rico. Mayra Ponce, not charged herein, was one of the two

partners of Colón & Ponce.

       6. The Escuela Especializada Bilingüe Padre Rufo (hereafter the “Padre Rufo School”)

was a public school located in Santurce, Puerto Rico. The Padre Rufo School operated under the

auspices of the PRDE.

       7. The Ciudadela housing complex (hereafter “Ciudadela”) was a luxury housing complex

adjacent to the Padre Rufo School in Santurce, Puerto Rico. Company A was a for-profit

corporation incorporated under the laws of the Commonwealth of Puerto Rico. Company A was

in the business of buying, selling, dealing, renting, and managing real estate.

       8. Company B was a for-profit consulting corporation incorporated under the laws of the

Commonwealth of Puerto Rico, and mainly operated out of the same office space as Company A.

The president of Company B was the same individual who served as the president of Company A.

Company C was a limited liability company organized under the laws of the State of Delaware

which was duly authorized to do business in the Commonwealth of Puerto Rico as of August 20,

2012. Company C owned Ciudadela, which it purchased for approximately $120,000,000.

       9. In or about May 2018, JULIA BEATRICE KELEHER signed a lease with a promise

to purchase agreement for a two-bedroom apartment in Ciudadela. The agreement allowed her to

occupy the apartment until no later than August 15, 2018, for the nominal amount of $1.00,
                                                 2
          Case 3:21-cr-00202-PAD Document 2 Filed 06/08/21 Page 3 of 9




although the agreement valued the monthly rental price at $1,500. Under the terms of the

agreement, JULIA BEATRICE KELEHER was to purchase the apartment for $297,500 and

receive an incentive bonus of $12,000 in connection with said purchase. Although the agreement

expired on August 15, 2018, JULIA BEATRICE KELEHER remained living in the apartment

until actually purchasing it on or about December 4, 2018. That is, JULIA BEATRICE KELEHER

was allowed to occupy the apartment from June 7, 2018 until December 4, 2018 for the nominal

amount of $1.00.

                                         COUNT ONE
                                Conspiracy to Commit Wire Fraud
                                       (18 U.S.C. § 371))

       10.     Paragraphs 1, 2, 3, 4, and 5 of the General Allegations are hereby re-alleged and

incorporated by reference as though fully set forth herein.

       11. On June 8, 2017, PRDE entered into a professional services contract (2017-AF0220)

with COLÓN & PONCE (referred to as the “Second Party” in the contract), to provide certain

services. The contract allowed Colón & Ponce to invoice a total of $43,500.00 and had a duration

of up to December 31, 2017. It contained the following provision at paragraph 24:

 Original Spanish language                           English translation
 “La Segunda Parte no podrá subcontratar,            “The Second Party may not subcontract, give
 ceder ni traspasar los servicios objeto de este     or transfer the services object of this contract.
 contrato. La Segunda Parte será responsable         The Second Party will be responsible for the
 de la contratación y/o reclutamiento del            hiring and/or recruitment of the personnel that
 personal que ofrecerá los servicios y               will offer the services and activities stipulated
 actividades estipulados en la cláusula              in the THIRD clause of this Contract … …”
 TERCERA de este Contrato. …”

       12. Individual B had been a gubernatorial candidate in the Puerto Rico General Elections

of 2016, and Individual C was Individual B’s campaign manager. On July 5, 2017, Individual B

e-mailed JULIA BEATRICE KELEHER and recommended that she hire Individual C to work at

                                                 3
          Case 3:21-cr-00202-PAD Document 2 Filed 06/08/21 Page 4 of 9




PRDE. In August 2017, Individual C began working at PRDE without being an employee or

contractor of PRDE.

       13.Sometime before October 25, 2017, JULIA BEATRICE KELEHER informed

Individual C that Individual C would be working through COLÓN & PONCE, a company of which

Individual C had never heard.

       14.On October 25, 2017, PRDE entered into an amended contract with COLÓN &

PONCE. The amended contract increased the maximum value of the contract from $43,550.00, to

$93,550.00, with a duration until December 31, 2017. The amended contract left unaffected

Clause 24 of the original contract, which prohibited COLÓN & PONCE from subcontracting

services under the contract.

       15.On October 25, 2017, after PRDE and COLÓN & PONCE signed the abovementioned

contract amendment, Individual C signed a contractor agreement with COLÓN & PONCE under

which Individual C would provide services to COLÓN & PONCE at a rate of $40.00 per hour.

       16.After October 25, 2017, COLÓN & PONCE submitted invoices to PRDE for services

performed under its contract with PRDE. The invoices included subcontractor services performed

by Individual C, in violation of PRDE’s contract with COLÓN & PONCE.

       17.Sometime in December 2017, Individual C was informed by JULIA BEATRICE

KELEHER that BDO would pay for her professional services from January 2018 onwards.

       18.On December 28, 2017, Individual C signed an independent contractor agreement with

BDO, at a rate of $40 per hour and with a starting date of January 2, 2018.

       19.From January 2018 to July 2018, BDO submitted invoices to PRDE for services

performed under its contract with PRDE, including subcontractor services performed by Individual

C, charging for such services as if Individual C was a Senior $VVRFLDWHor Manager of BDO.
                                                4
             Case 3:21-cr-00202-PAD Document 2 Filed 06/08/21 Page 5 of 9




       20. From in or about October 2017 to in or about July 2018, JULIA BEATRICE

KELEHER and others not charged in this information, schemed to defraud and deprive PRDE of

its moneys in connection with PRDE contracts for professional services with COLÓN & PONCE

and BDO, in that JULIA BEATRICE KELEHER, knowing that said contracts prohibited these

entities from subcontracting its services, caused COLÓN & PONCE and BDO to subcontract such

services to Individual C, while concealing this fact in their invoices to PRDE, causing PRDE to

pay for said services.

       21. On or about each of the dates set forth below, in the District of Puerto Rico, the

defendant,

                                    JULIA BEATRICE KELEHER,

having devised a scheme to defraud, and to obtain money and property by means of materially

false and fraudulent pretenses, representations, and promises, transmitted and caused to be

transmitted by means of wire, radio, and television communication in interstate and foreign

commerce, writings, signs, signals, pictures, and sounds for the purpose of executing such scheme,

as follows:




                             INTENTIONALLY LEFT BLANK




                                                5
            Case 3:21-cr-00202-PAD Document 2 Filed 06/08/21 Page 6 of 9



        Date    Description of E-mails and Attachments
     12/22/2017 E-mail from Individual C to Mayra Ponce, in which Individual C asks
                Ponce for payment for her services from August until December 2017,
                under PRDE’s contract with Colón & Ponce.
     12/26/2017 E-mail from Mayra Ponce to Individual C, where Ponce explains that
                Colón & Ponce’s contract with Individual C started on October 25, 2017,
                the same date that the contract amendment between Colón & Ponce and
                PRDE was effective, and thus Colón & Ponce would pay Individual C
                only for her services from October 2017 onwards.
     02/28/2018 E-mail from a BDO Internal Accountant to Individual C, informing that
                the monthly contractor payroll at BDO is paid every 15th day and that
                when the check is ready, the Internal Accountant sends an e-mail
                notifying that the check can be picked up in BDO’s reception area or sent
                by mail.
     03/02/2018 E-mail from a BDO Internal Accountant to Individual C, informing of the
                availability of Individual C’s January 2018 check.
     03/15/2018 E-mail from a BDO Internal Accountant to Individual C and other
                contractors, informing of the availability of the February 2018 checks.
     04/13/2018 E-mail from a BDO Internal Accountant to Individual C and other
                contractors, informing of the availability of the March 2018 checks.
     05/15/2018 E-mail from a BDO Internal Accountant to Individual C and other
                contractors, informing of the availability of the April 2018 checks.

         22. From in or about October 2017 through in or about July 2018, in the District of Puerto

Rico, and elsewhere, the defendant,

                                        JULIA BEATRICE KELEHER,

and other persons, knowingly and willfully conspired with each other to commit an offense against

the United States, that is, wire fraud, contrary to 18 U.S.C. § 1343. All in violation of 18 U.S.C.

§ 371.

                                             COUNT TWO
                            Conspiracy to Commit Honest Services Wire Fraud
                                           (18 U.S.C. § 371))

         23. Paragraphs 1, 2, 3, 4, 5, 6, 7, 8, and 9 of the General Allegations are hereby re-alleged

and incorporated by reference as though fully set forth herein.

         24. From in or about May 2018 until in or about April 2019, in the District of Puerto Rico

and elsewhere within the jurisdiction of this Court, the defendant,
                                                   6
          Case 3:21-cr-00202-PAD Document 2 Filed 06/08/21 Page 7 of 9




                                 JULIA BEATRICE KELEHER,

did knowingly conspire with other persons to devise a scheme and artifice to defraud the people

residing in the Commonwealth of Puerto Rico of their right to her honest and faithful services as

the Secretary of Education, and to transmit, and cause to be transmitted by means of wire, writings,

signals, and sounds in interstate and foreign commerce for the purpose of executing the scheme

and artifice to defraud, contrary to 18 U.S.C. §§ 1343 and 1346.

                                    Purpose of the Conspiracy

       25. It was a purpose of the conspiracy for JULIA BEATRICE KELEHER to use her official

position as the Secretary of Education to obtain gifts, payments, and things of value from others,

in exchange for signing a letter purporting to cede 1,034 square feet of the Padre Rufo School to

Company C.

                             Manner and Means of the Conspiracy

       26. It was part of the conspiracy that co-conspirators facilitated Company C’s offer of a

lease agreement to JULIA BEATRICE KELEHER, under which terms JULIA BEATRICE

KELEHER was allowed to rent an apartment within Ciudadela from in or about May 2018 until

in or about December 2018 for the nominal amount of $1.00.

       27. It was further part of the conspiracy that in or about May 2018, other persons, Company

A, Company B, and Company C, agreed to give JULIA BEATRICE KELEHER a $12,000.00

incentive bonus in connection with her purchase of an apartment in Ciudadela.

       28. It was further part of the conspiracy that JULIA BEATRICE KELEHER and co-

conspirators would and did misrepresent, conceal, hide, and cause to be misrepresented, concealed,

and hidden acts done in furtherance of the conspiracy, including JULIA BEATRICE KELEHER’s

receipt of bribes and financial benefits from others.
                                                 7
           Case 3:21-cr-00202-PAD Document 2 Filed 06/08/21 Page 8 of 9




                                            Overt Acts

       29. In furtherance of the conspiracy, and to achieve its purpose, JULIA BEATRICE

KELEHER and co-conspirators committed overt acts including, but not limited to, the following:

       30. Between in or about May 2018 and in or about June 2018, a co-conspirator caused to

be delivered to a PRDE employee who worked at the Padre Rufo School a letter signed by

Individual A requesting authorization for Company C to acquire 1,034 square feet of the Padre

Rufo School. The letter was dated May 30, 2018.

       31. Between in or about May 2018 and in or about June 2018, a co-conspirator delivered

to a PRDE employee who worked at the Padre Rufo School the draft text of a letter addressed to

JULIA BEATRICE KELEHER providing that PRDE employee’s assent to ceding 1,034 square

feet of the Padre Rufo school to Company C. This PRDE employee signed the letter, dated June

8, 2018.

       32. On or about July 17, 2018, a co-conspirator sent via email the draft text of a letter

addressed to the president of Company C from JULIA BEATRICE KELEHER purporting to cede

1,034 square feet of the Padre Rufo School to Company C by authorizing Company C “to proceed

with the construction.” JULIA BEATRICE KELEHER caused the text to be placed on PRDE

letterhead largely as drafted by the co-conspirator and affixed her signature.

       33. For the purpose of executing and attempting to execute the scheme and artifice to

defraud, JULIA BEATRICE KELEHER and her co-conspirators did cause to be transmitted by

means of wire communications in interstate and foreign commerce, writings, signals, and sounds

as described below:




                                                 8
            Case 3:21-cr-00202-PAD Document 2 Filed 06/08/21 Page 9 of 9




Date (on or about)                      Interstate Wire

May 31, 2018                            Email from JULIA BEATRICE KELEHER to employee of Company A
                                        confirming whether she would receive $12,000.00 bonus in connection with
                                        her purchase of apartment in Ciudadela.
June 22, 2018                           Email from co-conspirator to JULIA BEATRICE KELEHER regarding
                                        Company C’s request to acquire land of the Padre Rufo School.
June 23, 2018                           Email from JULIA BEATRICE KELEHER to JULIA BEATRICE
                                        KELEHER forwarding documents pertaining to Company C’s request to
                                        acquire land from the Padre Rufo School.
July 17, 2018                           Email from co-conspirator to JULIA BEATRICE KELEHER attaching
                                        documents relating to Company C’s acquisition of 1,034 square feet of Padre
                                        Rufo School.
July 17, 2018                           Email from JULIA BEATRICE KELEHER to PRDE employee attaching
                                        documents relating to Company C’s acquisition of 1,034 square feet of Padre
                                        Rufo School.
August 20, 2018                         Email from a co-conspirator to JULIA BEATRICE KELEHER offering
                                        assistance in obtaining a bank loan.


         All contrary to 18 U.S.C. § 1343, in violation of 18 U.S.C. § 371.



  W.STEPHEN MULDROW
  UNITED STATES ATTORNEY                                               Date: 
                  Digitally signed by SETH ERBE
  SETH ERBE       Date: 2021.05.21 08:57:09

  _______________________
                  -04'00'


  Seth A. Erbe
  Chief, Financial Crimes and Public Corruption Unit




                                                           9
